Case 9:16-cv-81871-KAM Document 301-4 Entered on FLSD Docket 07/13/2018 Page 1 of 5




                      EXHIBIT D
Case 9:16-cv-81871-KAM Document 301-4 Entered on FLSD Docket 07/13/2018 Page 2 of 5




        3O25-9

                                 IN THE CIRCUIT COURT OF THE
                          FIFTEENTH JUDICIAL CIRCUIT IN AND FOR
                 PALM BEACH COUNTY. FLO5O-2015-CA-014480-XXXX-MB ABRI[)A

       PALM HOUSE HOTEL, LLLP, a                       CIRCUIT CIVIL DIVISION
       Florida limited liability limited
       partnership,                                    CASE NO. 50-2015-CA-014480-XXXX.-MB
                                                  AG
                   Plaintiff,

       vs.

       ROBERT MATTHEWS, MARIA
      SNEDEN MATTHEWS alkla MIA
       MATTI IEWS, NICHOLAS
      LAUDANO. JENNIFER JADE YU,
      LESLIE ROBERT EVANS. LESLIE
      ROBERT EVANS & ASSOCIATES,
      P.A., a Florida professional association,
      NEW HAVEN CONTRACTING
      SOUFFI, INC., a Florida corporation;
      ALIBI. LLC. a Delaware limited
      liability company, ALIBI, LTD, a
      Cayman Islands corporation; MIRABIA,
      LLC. a Delaware limited liability
      company: BOTTICELLI ADVISORS,
      LLC. a dissolved Florida limited
      liability company; 160 ROYAL PALM.
      LLC, a Florida limited liability
      company; PALM I-lOUSE PB. LLC, a
      dissolved Florida limited liability
      company, and NJL DEVELOPMENT
      GROUP, LLC, a Delaware limited
      liability company,

                   Defendants.



      AGREED ORDER ON ILAINTIFF'S OBJECTIONS TO EVANS DEFENDANTS'
       REQUESTS FOR ADMISSIONS; INTERROGATORIES AND REQUESTS TO
                                PRODUCE
Case 9:16-cv-81871-KAM Document 301-4 Entered on FLSD Docket 07/13/2018 Page 3 of 5




                                                    CASE NO. 50-2015-CA-014480-XXXX-M13 AG


               THIS MATTER having been agreed upon by the parties on Plaintifis Objections

       to the Evans Defendants' Requests for Admissions, Interrogatories and Requests to

       Produce, it is:

               ORDERED AND ADJUDGED AS FOLLOWS:

       The PlaintifPs Objections are hereby overruled as follows:

              1.         Defendants' Requests for Admissions- Plaintiff will respond to Requests 3

                         and 4.

               II.       Defendants' Interrogatories   -   Plaintiff will Answer Interrogatories #4,   #.
                         #6, #7. and #8.

              III.       Defendants' Requests to Produce:

                         a.       The Plaintiff will respond to Requests to Produce #2. #3, #7, #10.

                              #l2through#31,#34,#51, #52,#53. #54.and#56.

                         b.       As to Requests #20 through #29, the Plaintiff will limit its

                              responses to responsive documents for dates January I, 2012 through

                              December 31, 2016.

                         c.       The Plaintiff will supplement its Response to Request to Produce

                              #32 and #33.

              IV.        In response to Request to Produce #19. Plaintiff's attorneys may redact

                         attorney client privileged information from its billing records.

              V.         Plaintiff may redact names and Dersonal inlbrrnation of investors from any

                         financial record produced.




                                                      -2-
Case 9:16-cv-81871-KAM Document 301-4 Entered on FLSD Docket 07/13/2018 Page 4 of 5




                                             CASE NO. 50-2015-CA-014480-XXXX-MB AG


             VI.    Plaintiff will provide a Privilege Log for any response where Privilegj

                    claimed.

             VII.   Plaintiff to make a good faith diligent effort to provide all information and

                    all materials responsive to Defendants' discovery requests.

             VIII. Plaintiffto respond sixty days from the date of entry of this Order.



             DONE AND ORDERED at West Palm Beach. Palm Beach County, Florida. this

          ( day of _____________,2018.




                                             The Hohrble QnaU1 W. Hafèle
                                             CIRCUIVJUDGE



      COPIES FURNISHED TO:

      Henry B. Handler, Esq.
      Weiss, Handler & Cornwell. P.A.
      One Boca Place
      2255 Glades Road, Suite 218-A
      Boca Raton, FL 33431
      Telephone: (561) 997-99995
      Email: hbhiwhc I1.coni
       ii ci v iclla.com;
      fliI1..ct:\ hcl1a.coti


      Rachel Stud Icy, Esquire
      Wicker Smith OHara McCoy & Ford. P.A.
      515 N. Flagler Dr. Suite 1600
      West Palm Beach. FL 33401
      Telephone: (561)689-3800
      Email: wpbcrtpleadingswickersmith.com



                                               -3-
Case 9:16-cv-81871-KAM Document 301-4 Entered on FLSD Docket 07/13/2018 Page 5 of 5




                                            CASE NO. 50-2015-CA-U 14480-XXXX-MB AG




       Gregg H. Glickstein, Esquire
       Gregg H. Glickstein. PA.
       54 S.W. Boca Raton Boulevard
       Boca Raton. FL 33432
       Telephone: (561) 361-9600
       Email: hpi:a_hcH .uth,nct

      Rachel E. Walker, Esquire
      Jeffrey A. Backman, Esquire
      Greenspoon, Marder, PA.
      200 East Broward Blvd., Suite 1 800
      Fort Lauderdale, FL 33301
      Telephone: (954)491-1 120
      Email: Jeffrey.backniangrnlaw.com:
      RacheI.walker.gmaiI.corn

      Christopher W. Kammerer. Esquire
      John F. Mariani. Esquire
      Kammerer Mariani, PLLC
       1601 Forum Place, Suite 500
       West Palm Beach, FL 33401
      Telephone: (561)990-1590
      Email: ckammerer@kammerermariani.com;
      esery ice@.kammerermar ian i .com;
      j marian I @ karn merermar ian i .com




                                             -4-
